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 7

 8                                IN THE UNITED STATES DISTRICT COURT
 9                                    EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                              CASE NO. 1:07-CR-00156-JLT
11                                  Plaintiff,              STIPULATION REGARDING SCHEDULE
                                                            FOR DEFENDANT’S MOTION FOR
12                           v.                             SENTENCE REDUCTION;
                                                            [PROPOSED] ORDER
13   JORDAN HUFF,
14                                 Defendant.
15

16

17                                                 STIPULATION

18          Plaintiff United States of America (the “government”), by and through its counsel of record, and

19 the defendant, by and through his counsel of record, hereby stipulate as follows:

20          1.       On November 30, 2023, the Defendant filed a pro se motion for reduction in sentence.

21 Docket No. 597. On May 7, 2024, counsel for the Defendant filed a supplement in support of

22 Defendant’s motion for sentence reduction. Docket No. 606. The Government’s response is due June 7,

23 2024.

24          2.       Counsel for the Government requests additional time to review documents received from

25 BOP and finish drafting a proper response to the Defendant’s motion. The Defendant does not oppose

26 the Government’s request.
27          3.       Accordingly, by this stipulation, the parties jointly request that the Court set the briefing

28 schedule on the Defendant’s motion for compassionate release as follows:

      STIPULATION RE BRIEFING SCHEDULE                     1
30
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 1                  a)     The Government’s response to the Defendant’s motion for sentence reduction is

 2         to be filed on or before July 8, 2024;

 3                  b)     The Defendant’s reply to the Government’s response to be filed on or before July

 4         22, 2024.

 5         IT IS SO STIPULATED.

 6

 7   Dated: June 6, 2024                                    PHILLIP A. TALBERT
                                                            United States Attorney
 8

 9                                                          /s/ KIMBERLY A. SANCHEZ
                                                            KIMBERLY A. SANCHEZ
10                                                          Assistant United States Attorney

11

12    Dated: June 6, 2024                                    /s/ BENJAMN RAMOS
                                                            BENJAMIN RAMOS
13                                                          Attorney for Defendant
                                                            Jordan Huff
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15                                           [PROPOSED] ORDER
16         Based upon the stipulation and representations of the parties, the Court adopts the following as a
17 revised briefing schedule regarding the Defendant’s motion for compassionate release:

18         a)       The Government’s response to the Defendant’s motion, (Docket Nos. 597, 604), is now
19 due on or before July 8, 2024;

20         b)       The Defendant’s reply to the Government’s response, if any, is due on or before July 22,
21 2024.

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23 IT IS SO ORDERED.

24      Dated:     June 7, 2024
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      STIPULATION RE BRIEFING SCHEDULE                  2
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